Case 2:19-cv-00723-AB Document 1 Filed 02/21/19 Page 1 of 32

JS 44 (Rev. 06/17)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet, (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I, (a) PLAINTIFFS

BRANDON PAINE

 

EPA GS. inc. d/b/a IKEA; IKEA US Retail, LLC f/k/a IKEA
US East, LLC d/b/a IKEA; [KEA North America Services, LLC d/b/a
IKEA
County of Residence of First Listed Defendant _MONTGOMERY
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

(b) County of Residence of First Listed Plaintiff New Haven
(EXCEPT IN U.S. PLAINTIFF CASES)

NOTE:

¢) Attorneys (Firm Name, Address. and Telephone Number) Attorneys (If Known)
BRIAN GC, FARRELL, ESQ.; CONSOLE MATTIACCI LAW
4525 LOCUST ST., 9TH FL.

PHILADELPHIA, PA 19102, (215) 545-7676
I. BASIS OF JURISDICTION (rtace an "xX" in One Box Only)

 

 

TH. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X” in One Box for Plaintiff

 

(For Diversity Cases Only)

and One Box for Defendant)

 

 

 

 

196 Franchise

 

Injury
© 362 Personal Injury -

Medical Malpractice

   

    

 

 

 

1 385 Property Damage
Product Liability

 

   
 

  

EREAL PROPER’
O 210 Land Condemnation

{ 220 Foreclosure

O 230 Rent Lease & Ejectment
OF 240 Torts to Land

CI 245 Tort Product Liability
© 290 All Other Real Property

CIVEL RIGHTS

© 440 Other Civil Rights

(3 441 Voting

CX 442 Employment

O 443 Housing/
Accommodations

0) 445 Aimer. w/Disabilities -
Employment

C1 446 Amer. w/Disabilities -
Other

0 448 Education

 

 

-PRISONER PETITIONS:
Habeas Corpus:
(1 463 Alicn Detainee
(1 $10 Motions to Vacate
Sentence
530 General
CG 535 Death Penalty

© 740 Railway Labor Act

0 75] Family and Medical
Leave Act

0 790 Other Labor Litigation

791 Employee Retirement
Income Security Act

IMMIGRATION..]

 

Other:
(J 540 Mandamus & Other
C8 $50 Civil Rights
(0 555 Prison Condition
© 560 Civil Detainee -
Conditions of

462 Naturalization Application
1 465 Other bmmigration
Actions

 

 

Confinement

 

G 865 RSI (405(g))

 

REDERAL- TAX SUITS.

O 870 Taxes (U.S. Plaintiff
or Defendant)

0 87) IRS—Third Party
26 USC 7609

    
      

Ot US. Government 2% 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S, Government Not a Party) Citizen of This State ol C) 1 Incorporated er Principal Place go4 o04
of Business In This State
2 U.S, Government 0 4 Diversity Citizen of Another State O 2 (© 2 Incorporated and Principal Place os O35
Defendant (ndicate Citizenship of Parties in Item I) of Business [n Another State
Citizen or Subject of a O3 © 3. Foreign Nation o6¢ O6
Foreign Country
IV. NATURE OF SUIT (Place an “X" in One Box Only) Click here for; Nature of Suit Code Descriptions.
lz CONTRACT. Al : “TORTS : "FORFEITURE PENALTY... ; BANKRUPECY OTHER STATUTES:
© 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 0 422 Appeal 28 USC 158 C375 False Claims Act
© 120 Marine 0) 310 Airplane 0 365 Personal Injury - of Property 21 USC 881 {0 423 Withdrawal © 376 Qui Tam (3} USC
7 130 Miller Act D 335 Airplane Product Product Liability CF 690 Other 28 USC 157 372%a))
© 140 Negotiable Instrument Liability CJ 367 Health Care/ © 400 State Reapportionment
© 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical pep ERTY RIG 4O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O) 820 Copyrights ©) 430 Banks and Banking
(} 151 Medicare Act C) 330 Federal Employcrs’ Product Liability 0 830 Patent 1 450 Commerce
(9 152 Recovery of Defaulted Liability (7 368 Asbestos Personal {J 835 Patent - Abbreviated 1 460 Deportation
Student Loans (3 340 Marine Injury Product New Drug Application [© 470 Racketeer Influenced and
(Excludes Veterans) 0) 345 Marine Product Liability (J 840 Trademark Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR: “SOCTAL SECURELY - O 480 Consumer Credit
of Veteran's Benefits O 350 Motor Vehicle (7 370 Other Fraud {J 710 Fair Labor Standards CI 861 HIA (139Sff) {J 490 Cable/Sat TV
(J 160 Stockholders’ Suits (0 355 Motor Vehicle © 371 Truth in Lending Act {7 862 Black Lung (923) () 850 Securities/Commodities/
0 196 Other Contract Product Liability OC) 380 Other Personal 720 Labor/Management 0 863 DIWC/DIWW (405(z)) Exchange
0 195 Contract Product Liability | 360 Other Personal Property Damage Relations © 864 SSID Title XVI O 890 Other Statutory Actions
a

OF 891 Agricultural Acts

893 Environmental Matters

(7 895 Freedom of information
Act

O 896 Arbitration

C1 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

(17 950 Constitutionality of
State Statutes

 

V. ORIGIN (Place an “X" in One Box Only)

 

PX! Original 02 Removed from © 3. Remanded from (1 4 Reinstatedor ] 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing (Do aot cite jurisdictlonal statutes unless diversity):

29 U.S.C. § 621, et seq. ("ADEA"): 29 U.S.C. § 626(b): 29 U.S.C. § 216(b)

VI. CAUSE OF ACTION

Brief description of cause:

 

 

VII, REQUESTED IN O CHECK IF THIS 1S A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P, in excess of $150,000 JURY DEMAND: Yes No
VHI, RELATED CASE(S)
IF ANY (Geednsinctions):  unge ANITABRODY —__ DOCKET NUMBER 18-0599; 18-3261; ;
DATE SIGNATURE OF * ATTORNEY OF RECORD
02/21/2019 (a
FOR OFFICE USE ONLY S—
RECEIPT # AMOUNT . APPLYING IFP JUDGE MAG, JUDGE
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 2 of 32

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)
Address of Plaintiff: Hamden, CT
Address of Defendant: 420 Alan Wood Road, Conshohocken, PA 19428

 

Conshohocken, PA 19428

Place of Accident, Incident or Transaction:

 

 

RELATED CASE, IF ANY:
Case Number; 18-0599; 18-3261; 18-3651 Judge: Anita Brody Date Terminated:

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes | | Nol |
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes | ¥ | No |
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes | | No
numbered case pending or within one year previously terminated action of this court?

4. 1s this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes | | No [V |
case filed by the same individual? —

1 certify that, to my knowledge, the within case [2] is / [7] is not related to any casg-now pending or within one year previously terminated action in

 

 

this court except as noted above. fi ——_
(So oe

pate: 02/21/2019 yp cS 319145
Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

 

 

CIVEL: (Placea Vin one category only)
Federal Question Cases: Diversity Jurisdiction Cases:

Indemnity Contract, Marine Contract, and All Other Contracts Insurance Contract and Other Contracts

FELA Airplane Personal Injury
Jones Act-Personal Injury Assault, Defamation
Antitrust Marine Personal Injury
Patent Motor Vehicle Personal Injury

Labor-Management Relations
Civil Rights

Other Personal Injury (Please specify):
Products Liability

DODO »

 

OOOOSOOooOooO *

 

 

 

 

Habeas Corpus Products Liability - Asbestos
, Securities Act(s) Cases . All other Diversity Cases
0. Social Security Review Cases (Please specify):
1, All other Federal Question Cases

(Please specify):

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)
], Brian C. Farrell, Esq , counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

x | Relief other than monetary damages is sought.

 

 

al
pare: 02/21/2019 Ze 319145 .
Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (ifapplicable)

NOTE: A trial de novo will bea tial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ, 609 (5/2018)

 
Case 2:19-cv-00723-AB Document 1 Filed 02/21/19 Page 3 of 32

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM
BRANDON PAINE

on behalf of himself individually : CIVIL ACTION
and on behalf of those similarly situated :
v.
IKEA HOLDINGS US, INC.
dibfa IKEA, ef al. : NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track

to which that defendant believes the case should be assigned.
SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS;
(a) Habeas Corpus ~ Cases brought under 28 U.S.C. § 2241 through § 2255.

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits.

(c) Arbitration ~ Cases required to be designated for arbitration under Local Civil Rule 53.2,

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos.

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.)

(f) Standard Management — Cases that do not fall into any one of the other tracks.

#
fr?
ae /

a
02/21/2019 ae Plaintiff, Brandon Paine

( )
( )
()

( )

( )
(x)

 

Date “Attorney-at-law Attorney for
215-545-7676 215-565-2851 farrell@consolelaw.com

 

Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 4 of 32

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

BRANDON PAINE :
Hamden, CT 06514 : C.A.No.
on behalf of himself individually :
and on behalf of those similarly situated,

Plaintiff
ADEA COLLECTIVE ACTION

Vv. : JURY TRIAL DEMANDED

IKEA HOLDING US, INC.
d/b/a IKEA
420 Alan Wood Road
Conshohocken, PA 19428,

IKEA US RETAIL, LLC
f/k/a IKEA US EAST, LLC
d/b/a IKEA
420 Alan Wood Road
Conshohocken, PA 19428,

and

IKEA NORTH AMERICA SERVICES, LLC

 

d/b/a IKEA
420 Alan Wood Road
Conshohocken, PA 19428 ,
Defendants
CIVIL ACTION COMPLAINT

 

I. PRELIMINARY STATEMENT.

IKEA is a multinational company that openly expresses a preference in favor of young
employees as the company’s future leaders — including in its operations in the United States.
IKEA US openly and publicly violates US law prohibiting age discrimination, has a corporate

1
Case 2:19-cv-00723-AB Document 1 Filed 02/21/19 Page 5 of 32

culture of age discrimination, and has engaged in a pattern and practice of age discrimination
against its older employees, including Plaintiff, Brandon Paine (currently age 48). Without
limitation, IKEA US: has openly expressed age-based personnel goals in favor of young
employees; has openly expressed a preference for the advancement of younger individuals as the
company’s future leaders; has openly directed every store location nationwide to hire younger
people into certain positions; flouts US age discrimination law by publishing job ads openly
seeking “young talent;” and has a promotion selection process that tracks and considers
employee ages. The company’s age bias from the top down infuses and infects every aspect of
the employment decision-making process.

Plaintiff, Brandon Paine, has been adversely affected by IKEA’s pattern and practice of
age discrimination and its policy of favoring young employees for promotion. He is a long term
employee of IKEA US who was effectively demoted because of his age in connection with a so-
called reorganization, and then repeatedly rejected because of his age for promotion into open
and available positions for which he was well qualified and applied. Plaintiff now brings this
action against Defendants for violation of the Age Discrimination in Employment Act, as
amended, 29 U.S.C. § 621, et seg. (“ADEA”), as a collective action pursuant to the ADEA, 29
U.S.C. § 626(b), incorporating section 16(b) of the Fair Labor Standards Act, 29 U.S.C. §
216(b), on behalf of himself individually and on behalf of those similarly situated: i.e., all those
current and former employees of IKEA in the United States (a/k/a IKEA US) who, since January
24, 2018, were age 40 or over and denied promotion (“Older Workers”) (Counts I, II).

Plaintiff seeks an Order providing that Notice of this lawsuit be given to each Older

Worker. In addition, Plaintiff seeks injunctive and declaratory relief, damages, including
Case 2:19-cv-00723-AB Document 1 Filed 02/21/19 Page 6 of 32

compensatory and liquidated damages, attorney’s fees and costs, and all other relief under the
ADEA and any other relief this Court deems appropriate.
Il. PARTIES.

1. Plaintiff, Brandon Paine, is an individual and citizen of the state of Connecticut,
residing therein in Hamden, Connecticut 06514.

2. Plaintiff was born in August 1970 and is currently forty-eight (48) years old.

3. Plaintiff is a current US employee of “IKEA” who works at the IKEA store
located in New Haven, Connecticut, and receives his form W-2 from defendant IKEA US Retail,
LLC.

4, “IKEA” is a multinational company that presents and promotes itself publicly as a
centrally controlled entity known as the “IKEA Group.”

5. The IKEA Group operates in the United States through various owned and
controlled subsidiary entities all of which do business as and present themselves as “IKEA,”
including, without limitation, defendants IKEA Holding US, Inc., IKEA US Retail, LLC, and
IKEA North America Services, LLC.

6. Defendant IKEA Holding US, Inc. is a Delaware corporation with headquarters
and a principal place of business located in Conshohocken, Pennsylvania.

7. Defendant IKEA Holding US, Inc., through its subsidiary entities, owns defendant
IKEA US Retail, LLC, and its subsidiary, IKEA North America Services, LLC.

8. Defendant IKEA US Retail, LLC is a limited liability company with headquarters
and a principal place of business located in Conshohocken, Pennsylvania.

9, Defendant IKEA North America Services, LLC is a limited liability company

with headquarters and a principal place of business located in Conshohocken, Pennsylvania.
Case 2:19-cv-00723-AB Document 1 Filed 02/21/19 Page 7 of 32

10. Defendants share common ownership, management, human resources and
employment policies.

11. The IKEA Group, through its various owned and controlled subsidiary
companies, including Defendants, holds itself out to the public and its employees in the United
States as one company, referred to hereinafter as “IKEA US” or “Defendants.”

12. The employees of IKEA US, regardless of the payroll company from which their
form W-2 is issued, are subject to the same, centrally controlled policies regarding human
resources and employment matters.

13. IKEA US is interconnected such that the entities that comprise it are considered a
“single” and/or “integrated” employer, and/or “joint” employer.

14. Defendants are alter-egos of each other, IKEA US and/or the IKEA Group.

15. | Defendants are interconnected such that each entity, individually or collectively,
contributed to, caused and/or is responsible for the age discrimination alleged herein.

16. IKEA US employs over 15,000 people.

17. At all times material hereto, Defendants, individually and/or collectively, have
been engaged in an industry affecting interstate commerce and have acted as an “employer”
within the meaning of the ADEA.

18. At all times material hereto, Defendants, individually and/or collectively,
employed more than twenty (20) people.

19, At all times material hereto, Defendants, individually and/or collectively, acted by
and through their authorized agents, servants, workmen, and/or employees within the course and

scope of their employment with Defendants and in furtherance of the business of Defendants.
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 8 of 32

20. At all times material hereto, Plaintiff has been an employee of Defendants,
individually and/or collectively, within the meaning of the ADEA.
Wi. JURISDICTION AND VENUE.

21. The causes of actions alleged herein arise under the ADEA, as amended, 29
U.S.C. $621, et seg.

22. The District Court has jurisdiction over the ADEA claims (Counts I, I) pursuant
to 29 U.S.C. §626(c) and 29 U.S.C. $1331.

23. The District Court has personal jurisdiction over Defendant IKEA US Retail, LLC
because, inter alia, defendant maintains its headquarters and/or a principal place of business in
Pennsylvania, maintains systematic and continuous activity such that it is at home in
Pennsylvania, the actions giving rise and/or related to this suit occurred in Pennsylvania, and/or
it has consented to the jurisdiction of this Court through, among other things, its appointment of
an authorized agent in Pennsylvania to accept service of process.

24. The District Court has personal jurisdiction over Defendant IKEA North America
Services, LLC because, inter alia, defendant maintains its headquarters and/or a principal place
of business in Pennsylvania, maintains systematic and continuous activity such that it is at home
in Pennsylvania, the actions giving rise and/or related to this suit occurred in Pennsylvania,
and/or it has consented to the jurisdiction of this Court through, among other things, its
appointment of an authorized agent in Pennsylvania to accept service of process.

25. The District Court has personal jurisdiction over Defendant IKEA Holding US,
Inc. because, inter alia, defendant maintains its headquarters and/or a principal place of business
in Pennsylvania, maintains systematic and continuous activity such that it is at home in

Pennsylvania, the actions giving rise and/or related to this suit occurred in Pennsylvania, and/or
Case 2:19-cv-00723-AB Document 1 Filed 02/21/19 Page 9 of 32

it has consented to the jurisdiction of this Court through, among other things, its appointment of
an authorized agent in Pennsylvania to accept service of process.

26. Venue is proper under 28 U.S.C. § 1391(b) because, without limitation,
Defendants are residents in this judicial district and/or a substantial part of the events giving rise
to Plaintiff's claims occurred in this judicial district.

27, On or about November 20, 2018, Plaintiff filed a Charge of Discrimination with
the Equal Employment Opportunity Commission (“EEOC”), which was dual filed with
Connecticut Commission on Human Rights and Opportunities.

28. Attached hereto, incorporated herein, and marked as Exhibit “A” is a true and
correct copy of Plaintiff's November 20, 2018 Charge of Discrimination (with minor redactions
for purposes of electronic filing of confidential/identifying information).

29, More than 60 days have passed since Plaintiff filed his Charge of Discrimination
with the EEOC.

30. ‘Plaintiff has fully complied with all administrative prerequisites for the
commencement of this action.

IV. FACTUAL ALLEGATIONS SUPPORTING CLAIMS.

IKEA US’s Policy of Favoring Younger Employees
and its Pattern and Practice of Age Discrimination

31. The IKEA Group is a multinational company that has a corporate culture of age
bias.

32. The IKEA Group openly expresses a preference in favor of young employees as
the future leaders of the company.

33. The IKEA Group has, among other things, directed IKEA US to set age-biased

personnel goals for management level employees.
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 10 of 32

34. The IKEA Group has, among other things, directed IKEA US to consider age in
its employment decisions.

35. The IKEA Group has, among other things, directed IKEA US to prefer younger
individuals in management positions.

36. The IKEA Group owns and controls IKEA US.

37. IKEA US maintains headquarters that are located in Conshohocken,
Pennsylvania.

38. IKEA refers to its U.S. headquarters as the “Service Office.”

39. | Upon information and belief, the Service Office is staffed by employees who
receive their W-2 forms from defendant North America Services, LLC, but whose areas of
responsibility cover the entirety of IKEA US.

40. IKEA US utilizes centralized human resources and employment policies and
strategies that are promulgated in and disseminated from the Service Office in Conshohocken,
Pennsylvania.

41. IKEA US’s centralized human resources, personnel and employment policies and
strategies are implemented in connection with the job application/selection for promotion
process through, among things, the involvement of its Recruiting Department, which is based out
of the Service Office. Among other things, the Recruiting Department pre-screens applicants,
interviews candidates, makes recommendations, and finally approves successful candidates for
promotion.

42, IKEA US has a corporate culture of age bias.

43, IKEA US has had in place a goal to create a younger management base.
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 11 of 32

44. IKEA US has had in place a long term strategy of having young people in
management positions.

45. IKEA US has communicated its strategy of having young people in management
positions to the entirety of IKEA US.

46. IKEA US has had in place a policy to favor young employees in management
positions.

47. | IKEA US openly expresses a preference in favor of young employees as the
future leaders of the company.

48, IKEA US has set age-biased personnel goals for management level employees.

49, IKEA US has communicated its age-biased personnel goals throughout the
entirety of IKEA US.

50. IKEA US has communicated its preference for young people in management
positions throughout the entirety of IKEA US.

51. | IKEA US considers age in its employment decisions, and favors younger
employees when making promotions decisions and selecting individuals for management
positions,

52. | IKEA US’s age bias from the top-down infuses and infects the employment
decision-making process throughout the entirety of IKEA US.

53. Since February 12, 2018, at least four current or former employees of IKEA US
have filed age discrimination lawsuits against Defendants in the United States District Courts,
alleging, among other things, that IKEA operating in the US considers age in its employment
decisions and acts upon its openly expressed preference in favor of younger employees to the

detriment of its older employees. The captions of these lawsuits are as follows:
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 12 of 32

a. Donofrio v. IKEA US Retail, LLC (E.D. Pa. No. 2:18-cv-00599-AB) (Feb.
12, 2018);

b. Parker v. IKEA North America Services, LLC (E.D, Pa. 2:18-cv-03261-
AB) (Aug. 1, 2018);

C. Gorbeck v. IKEA North America Services, LLC, et al. (E.D. Pa. 2:18-cv-

00599-AB) (Aug. 27, 2018); and

d. Nasci v. IKEA North America Services, LLC (W.D. Pa. 2:18-cv-01643-

CB) (Dec. 10, 2018).
54. IKEA US has engaged in systemic age discrimination against its Older Workers.
55. IKEA US has engaged in a pattern and practice of age discrimination. Upon
information and belief, and without limitation:

a. IKEA US has had in place long term goals to have a younger management
base and a certain number of younger individuals in management level positions. Every
IKEA US store was directed that if it lost a member of its Store Steering Group, it was to
fill the position with someone younger than 35. Specific goals of having a certain
number of younger employees in management positions were stated in writing by the US

Strategic Human Resources Committee and communicated to every store throughout the

United States. The goals have been spoken of and communicated in different ways, such

39 66 99 66.

as in terms of “age distribution goals,” “succession,” “potential” or “diversity.”

b. IKEA US has tracked, monitored and reported on its age-based personnel
goals.

c. IKEA US has had in place a long term strategy for recruiting and

promoting younger people into management positions.

d. IKEA US has had in place leadership development programs as part of a
strategy to advance young employees into management positions.

e. IKEA US has had in place a policy of identifying the “potential” of its

employees as a proxy to assess promotability in an age-biased manner.
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 13 of 32

f. IKEA US has undertaken recruiting efforts aimed at recruiting young
individuals into management positions.

g. IKEA US has implemented “reorganization” efforts, including one entitled
“Organization for Growth” (a/k/a “04G”), to remove older employees from management
positions.

h. IKEA US has had a promotions policy and/or practice that calls for the
consideration of data on internal applicants for management positions, including their
age.

1. IKEA US has had a job selection process by which older qualified
applicants seeking promotion are precluded from consideration without due
consideration.

j. IKEA US has had a job selection process by which older qualified

applicants seeking promotion are precluded from consideration in favor of younger

applicants.

k, IKEA US managers openly express age bias in favor of younger
employees.

1, IKEA US fails to remediate complaints of age discrimination, and thus

promotes a culture in which discrimination against older employees is tolerated and
encouraged.
m. IKEA US has had in place programs explicitly aimed at promoting

“young” talent and/or “young” potentials.

10
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 14 of 32

n. IKEA US has expressly stated to all of its employees — including decision-
makers, applicants, potential applicants, and those charged with complying with its stated
anti-discrimination policies — that it is “looking for young talents.”

oO. IKEA US openly flouts the ADEA by, without limitation, publicizing
advertisements for expressing a preference for “young” candidates, such as for its
“Global Young Potentials Program.”

p. IKEA US intentionally fails to promote older employees because of their
age.

q. IKEA US fails to promote older employees for promotion because of their
age.

56. IKEA US’s employment policies and/or practices are infected with age bias from
the top down and infuse all aspects of its employment decisions.

57. IKEA US’s employment policies and/or practices, such as, without limitation, its
identification of “potential,” and/or its promotion policy, and/or its consideration of age in
connection with diversity, and/or its consideration of age in employment decisions, and/or its
leadership development programs, and/or its policies and practices in connection with requiring
relocation and/or offering relocation support, and/or its application and job selection policies,
practices, and/or processes have resulted in a statistically significant disparity in the promotion
rates of its Older Workers.

58. IKEA US passes over for promotion qualified Older Workers in favor of
substantially younger individuals.

59. IKEA US’s policies infected with age bias, its corporate culture of age bias, its

open expression of considering age in employment decisions, and/or its openly expressed

11
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 15 of 32

preference for developing and/or selecting younger employees as its future leaders, affect the
employment decisions made by IKEA US and adversely affect IKEA US’s older employees.

60. IKEA US’s polices infected with age bias, its corporate culture of age bias, its
open expression of considering age in employment decisions, and/or its openly expressed
preference for developing and/or selecting younger employees as its future leaders, among other
things, have deterred older employees from applying for leadership development opportunities or
programs and/or for promotion.

61. IKEA US has since at least January 24, 2018, engaged in a pattern and practice of
age discrimination against its Older Workers, including Plaintiff.

62. IKEA US has by its actions since at least January 24, 2018, intentionally
discriminated against Older Workers, including Plaintiff.

63. IKEA US’s policies and/or practices have since at least January 24, 2018, resulted
in a disparate impact against Older Workers, including Plaintiff.

64. IKEA US has since at least January 24, 2018, denied promotion to Older
Workers, including Plaintiff, because of age.

Plaintiff Brandon Paine

65, IKEA US hired Plaintiff on or about February 16, 2004,

66. Plaintiff currently works for IKEA US as an Active Selling Leader in the New
Haven, Connecticut store.

67. Plaintiff has consistently Plaintiff has demonstrated excellent performance and
dedication, he has performed his duties in a highly competent manner, and has received positive

feedback.

12
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 16 of 32

68. At the time of his hire, Plaintiff was age 34. He was hired as an assistant
department manager to work in Defendants’ New Haven, Connecticut store.

69, In 2006, at the age of 36, Plaintiff was promoted into a Shopkeeper position in the
New Haven store.

70. Plaintiff's performance in the Shopkeeper position was recognized to be
satisfactory of better.

71. Among other ways in which IKEA US recognized his positive performance, and
without limitation, IKEA US had called upon Plaintiff to serve as a Sales Leader/Sales Planner
(which would have been a promotion from the Shopkeeper position) on an interim basis.

72. In or about May, 2017, Plaintiff, at age 47, applied for promotion to the Sales
Leader/Sales Planner position.

73. Plaintiff was qualified for the position and, in fact, had performed it successfully
on an interim basis.

74. IKEA US failed to promote Plaintiff to the Sales Leader/Sales Planner position.

75. IKEA US selected for the Sales Leader/Sales Planner position four (4)
substantially younger, less qualified employees for the position: Shane Coopwood (26)!; Sonja
Schenkemeyer (27); Nicholas Wheat (28); and Spencer Saldumbide (28).

76. IKEA US denied Plaintiff a promotion to the Sales Leader/ Sales Planner position
because of his age.

77, In or about October, 2017, IKEA US announced a “reorganization” entitled O4G.

 

' All ages identified herein (other than that of Plaintiff) are approximations.

13
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 17 of 32

78. O4G was an effort by IKEA US to eliminate older employees from management
positions by, without limitation, terminating them, demoting them, or effectively forcing them
out.

79, O4G was an effort by IKEA US to favor younger employees over older
employees by offering younger employees better jobs with higher pay.

80. Through O04G, employees were assigned “new” roles within the company. These
“new” roles guaranteed base pay protection for IKEA employees through December 31, 2018.
However, following December 31, 2018, if the “new” assigned position came with a lower pay
grade, the employee’s pay would then be reduced accordingly. Upon information and belief, this
was a scheme intended to harm older employees by removing them from management positions
while lulling and/or deceiving them into foregoing their rights to pursue age discrimination
claims past the 300 day federal charge filing deadline.

81. In connection with 04G, in or about October, 2017, IKEA US demoted Plaintiff's
position from Shopkeeper to Active Selling Leader.

82. Effective January 1, 2019, Plaintiff's compensation decreased by more than
$10.00 per hour in connection with this demotion.

83. IKEA US did not demote Plaintiff because of any alleged poor performance.

84. IKEA US told Plaintiff that the reason for his demotion was IKEA US’
realignment of job functions and duties to be more competitive in the retail environment.

85. The stated reason for the demotion was a pretext. IKEA US demoted Plaintiff to

the position of Active Selling Leader because of his age.

14
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 18 of 32

86. Plaintiff's performance in the Active Selling Leader position was recognized to be
satisfactory of better. For example, and without limitation, in his 2018 written performance
evaluation, Plaintiff's manager praised him, as follow:

Brandon has so many great qualities as an IKEA Leader. He is
passionate about the quality of his work. He is fiercely loyal to his
team as they are [t]o him. He has a wealth of knowledge about the
IKEA concept and also from his history of being a shopkeeper, the
knowledge and capability of implementing the concept in the store,
including meeting the customer with the range.

87, Since O4G, Plaintiff has applied for promotion several times, and has been
rejected for promotion because of his age.

88. In or about December 2017, Plaintiff again applied for promotion to the Sales
Leader/ Sales Planner position.

89. Plaintiff was qualified for the Sales Leader/Sales Planner position.

90. On or about February 7, 2018, Plaintiff learned that he had been rejected for the
Sales Leader/ Sales Planner position.

91, IKEA US selected for the Sales Leader/Sales Planner position Audrey Bates (30).

92. Plaintiff was better qualified for the position than Ms. Bates.

93. Defendants failed to promote Plaintiff to the Sales Leader/ Sales Planner position
because of his age.

94, In or about June 2018, Plaintiff applied for promotion to the Active Selling
Manager position at Defendants’ store in Live Oak, Texas.

95. Plaintiff was qualified for the Active Selling Manager position.

96. In or about June 28, 2018, Plaintiff learned that he had been rejected for the

Active Selling Manager position.

15
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 19 of 32

97. IKEA US selected for the Active Selling Manager position Jeffrey Borlik
(“Borlik”’) (30) for the position.

98. Plaintiff was more qualified for the position that Mr. Borlik in that, without
limitation, Mr. Borlik had four (4) years of experience with IKEA whereas Plaintiff had
approximately fourteen (14) years of experience with IKEA at the time.

99. IKEA US failed to promote Plaintiff to the Active Selling Manager position
because of his age.

100. In or about August 2018, Plaintiff applied for promotion to the Active Selling
Manager position in at IKEA US’ store in Norfolk, Virginia.

101. Plaintiff was qualified for the Active Selling Manager position.

102. On or about September 27, 2018, Plaintiff learned that he was not selected for the
Active Selling Manager position.

103. After he learned he did not get the Active Selling Manager position, Plaintiff had
a telephone call with Tiffin Mohr (“Mohr’) (48), the Customer Experience Manager with whom
he had interviewed. During the call, Ms. Mohr told Plaintiff words to the effect that since Active
Selling was a “new role” within IKEA, IKEA was looking for someone who could bring “new
and innovative ideas” to the position and that, as a result, IKEA would be hiring an external
candidate. Plaintiff understood this to mean that IKEA considers an employee’s age when
making hiring and promotional decisions, and that it wanted to hire someone younger.

104. IKEA US selected an external candidate for the Active Selling Manager position.

105. IKEA failed to promote Plaintiff to the Active Selling Manager position because

of his age.

16
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 20 of 32

106. In or about December, 2018, Plaintiff applied for the Sales Plan Manager position
in IKEA US Frisco, Texas store.

107. Plaintiff was qualified for the Sales Plan Manager position.

108. On or about January 27, 2019, Plaintiff learned that he had been rejected for the
Sales Plan Manager position.

109. IKEA US selected for the Sales Plan Manager position Luke Lummano (31) for
the position.

110. Plaintiff was at least as, if not more, qualified for the position than Mr. Iadevaia
because of, without limitation, Plaintiff's experience.

111. IKEA US failed to promote Plaintiff to the Sales Plan Manager position because
of his age.

112. Inor about January 24, 2019, Plaintiff applied for the Active Selling Manager
position in IKEA US’ San Diego, California store.

113. Plaintiff was qualified for the Active Selling Manager position.

114. As ofthis filing, IKEA US has not offered Plaintiff the Active Selling Manager
position.

115, IKEA US has rejected Plaintiffs applications for promotion without due
consideration. For example, and without limitation, several of the interviews seemed to be just
going through the motions and not intended to actually assess Plaintiff’s ability to perform the
job.

116. Plaintiff has sometimes not applied for or has withdrawn from consideration for
promotion upon learning that relocation support would not be offered for a position. For

example, and without limitation, in or about December, 2018, Plaintiff applied for the Sales Plan

17
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 21 of 32

and Steer Field Advisor position based in IKEA US’ Conshohocken store. Upon being
informed, nearly a month and half after he applied, that relocation assistance would not be
offered, Plaintiff withdrew his application.

117. Comments and conduct by management at the IKEA New Haven store have
demonstrated a bias against older employees, including, but not limited to, the following
instances:

a. During an interview for a promotion, an IKEA manager asked an older
applicant if she was considering retirement soon;

b. During a meeting with employees in the New Haven, Connecticut retail store,
then Human Resources Manager Jacqueline DeChamps stated that, as part of
IKEA US’s action plan, every store needed to hire a management “steering”
member under age thirty (30);

c. during a recent meeting with Plaintiff, Store Manager Christoph Stein asked
Plaintiff why he had waited so long in his career to apply for jobs “leading
leaders” (i.e., higher level management positions); and

d. several older employees have recently been demoted or pushed out.

118. IKEA US has failed to promote Plaintiff because of his age.

119. Asadirect and proximate result of the age discriminatory and unlawful conduct
of Defendants, Plaintiff has in the past incurred, and may in the future incur, a loss of earnings

and/or earning capacity, and loss of benefits, the full extent of which is not known at this time.

18
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 22 of 32

COUNT I
AGE DISCRIMINATION IN VIOLATION OF THE ADEA
DISPARATE TREATMENT
(by Plaintiff individually
and on behalf of similarly situated Older Workers)

120. Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as
if fully set forth herein.

121. The ADEA claim of age discrimination — disparate treatment as alleged herein is
brought by Plaintiff individually and on behalf of similarly situated employees (“Older
Workers”).

122. Defendants have intentionally discriminated against Plaintiff and Older Workers
because of their age.

123. Defendants have engaged in a pattern and practice of age discrimination against
Plaintiff and Older Workers.

124. Defendants have denied promotions to Plaintiff and Older Workers because of
their age.

125. Age was a determinative factor in Defendants’ passing over Plaintiff and Older
Workers for training and leadership development programs and opportunities.

126. Age was a determinative factor in Defendants’ failure to promote Plaintiff and
~ Older Workers.

127, Asadirect result of Defendants’ discriminatory conduct, Plaintiff and Older
Workers have in the past incurred, and will in the future incur, a loss of earnings and/or earnings

capacity, loss of benefits, and other injuries, the full extent of which is not known at this time.

128. Defendants, by the discriminatory acts set forth herein, have violated the ADEA.

19
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 23 of 32

129. Defendants’ violation of the ADEA was intentional and willful under the
circumstances and warrants the imposition of liquidated damages.

130. Asadirect and proximate result of Defendants’ violation of the ADEA, Plaintiff
and Older Workers have sustained the injuries, damages, and losses set forth herein.

131. Plaintiff and Older Workers are now suffering and will continue to suffer
irreparable injury and monetary damages as a result of Defendants’ age discriminatory and
unlawful acts unless and until the Court grants the relief requested herein.

COUNT II
VIOLATION OF THE ADEA —
DISPARATE IMPACT/PROMOTION RATES
(by Plaintiff individually
and on behalf of similarly situated Older Workers)

132. Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as
if fully set forth herein.

133. The ADEA claim of age discrimination — disparate impact/promotion rates as
alleged herein is brought by Plaintiff individually and on behalf of similarly situated employees
(“Older Workers”).

134. Defendants utilize practices, policies, and procedures that disparately impact
Older Workers, including Plaintiff.

135. Upon information and belief, Defendants’ identification of “potential,” and/or its
promotion policy, and/or its consideration of age in connection with diversity, and/or its
consideration of age in employment decisions, and/or its leadership development programs,
and/or its policies and practices in connection with requiring relocation and/or offering relocation

support, and/or its application and job selection policies, practices, and/or processes have

resulted in a statistically significant disparity in the promotion rates of its Older Workers.

20
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 24 of 32

136. The foregoing policies, individually and/or collectively, have had a disparate
impact on the promotion rates of Older Workers, including Plaintiff.

137. Defendants, by their policies and/or practices, have violated the ADEA.

138. Asadirect and proximate result of Defendants’ violation of the ADEA, Older
Workers, including Plaintiff, have sustained the injuries set forth herein.

139. Plaintiff and Older Workers are now suffering and will continue to suffer
irreparable injury as a result of Defendants’ age discriminatory and unlawful acts unless and until
the Court grants the relief requested herein.

RELIEF

WHEREFORE, Plaintiff, Brandon Paine, respectfully requests that this Court enter
judgment in his favor and against Defendants, IKEA US Retail, LLC, f/k/a IKEA US East, LLC
d/b/a IKEA; IKEA North America Services, LLC, d/b/a IKEA; and IKEA North America
Services, LLC d/b/a IKEA and issue an Order:

a. declaring this action to be an ADEA collective action properly maintained
under 29 U.S.C. § 216(b);

b. requiring Defendants to provide to Plaintiff the names, date of birth,
addresses (including e-mail addresses), current positions, and telephone numbers of all current
and former employees of Defendants who, since January 24, 2018, were age 40 or over and
denied promotion;

c. requiring that notice and opportunity to opt-in be given to all current or
former employees of Defendants who, since January 24, 2018, were age 40 or over and denied or

promotion;

21
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 25 of 32

d. declaring the acts and practices complained of to be a violation of the
ADEA;
e. declaring the acts and practices complained of by Plaintiff on an
individual basis to be a violation of the ADEA;
f. enjoining and restraining permanently the violations alleged herein;
g. awarding compensatory damages to Plaintiff and Older Workers to make
Plaintiff and Older Workers whole for all past and future lost earnings, benefits, and earnings
capacity which Plaintiff and Older Workers have suffered and will continue to suffer as a result
of Defendants’ discriminatory conduct;
h. awarding liquidated damages to Plaintiff and Older Workers;
i. awarding to Plaintiff and Older Workers the costs of this action, together
with reasonable attorney’s fees;
j. awarding Plaintiff and Older Workers such other damages as are
appropriate under the ADEA; and
k, granting such other and further relief as this Court deems appropriate.
CONSOLE MATFIACCI LAW, LLC
BY: a =
Stephen G. Console
Laura C. Mattiacci
Susan M. Saint-Antoine
Brian C. Farrell
Emily R. Derstine Friesen
1525 Locust Street, 9" Floor
Philadelphia, PA 19102
(215) 545-7676
(215) 565-2855 (fax)
console@consolelaw.com

mattiacci@consolelaw.com
santanto@consolelaw.com

farrell@consolelaw.com

 

22
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 26 of 32

derstinefriesen@consolelaw.com

Attorneys for Plaintiff,

Brandon Paine

(on behalf of himself individually

and on behalf of those similarly situated)
Dated: February 21, 2019

23
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 27 of 32

Exhibit “A”
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 28 of 32

 

CHARGE OF DISCRIMINATION AGENCY CHARGE NUMBER
Q FEPA

This form is affected by the Privacy Act of 1974; See privacy statement before | X EEOC | , o
consolidating this form. F2$- 0 7-003 2¢
STATE OR LOCAL AGENCY: Connecticut Commission on Human Rights
and Opportunities

 

 

 

 

 

 

 

NAME (Indicate Mr, Ms., Mrs.) HOME TELEPHONE NUMBER (/nelude Area Code}
Brandon Paine
| STREET ADDRESS CITY, STATE AND ZIP DATE OF BIRTH
Hamden, CT 06514 a

 

 

NAMED IS THE BMPLOYER, LABOR ORGANIZATION, EMPLOYMENT AGENCY, APPRENTICESHIP, COMMITTEE,
STATE OF LOCAL GOVERNMENT WHO DISCRIMINATED AGAINST ME (If more than one than list below)

 

 

 

 

 

 

 

 

 

 

 

NAME NUMBER OF EMPLOYERS, MEMBERS TELEPHONE (Include Area Code)
ALEKIBA, 2.20. (888).888-4532. ed
STREET ADDRESS CITY, STATE AND ZIP COUNTY
450 Sargent Drive New Haven, CT 06511 New Haven
CAUSE OF DISCRIMINATION (Check appropriate box(es) DATE DISCRIMINATION TOOK PLACE
QRace QColor QSex QReligion Q National Origin
QRetaliatton XAge QDisability Q Other (Specify) Earliest Latest 11/16/2018 (ongoing)
icul re:
A. 1. Relevant Work History

| was hired by Respondent on or about February 16, 2004. | currently hold the position of Active Selling Leader. |
currently report to Karl Ryan (62°), Active Selling Manager. Ryan reports to Zoe Zengeni (39), Customer Experience

Manager.

Respondent failed to promote me because of my age. Respondent failed to promote me to four (4) positions for which |
had applied and was interviewed. | am age forty-eight (48), with more than fourteen (14) years of service at Respondent,
instead of promoting me, Respondent promoted substantially younger employees.

| consistently demonstrate excellent performance and dedication to Respondent. | perform my duties in a highly

 

competent manner, and receive positive feedback.

 

{ want this charge filed with both the BEOC and the State or local Agency, NOTARY - (wheu necessary for State and Local Requirements)

if any, I will advise the agencies if] change my address or telephone number . cnn
and cooperate fully with them in the processing of my charge in accordance T swear of affirm that] havo read the above charge and that it is true
with their procedures to the best of my knowledge infonnation and belief,

. Tdeelare under penally or perjury that the foregoing {s true and correct.

 

 

 

 

Date: Charging Party (Signature): SIGNATURE OF COMPLAINANT

Wale

 

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
(Day Month, and year}

 

 

 

 

: pr -
RECESS

NOY 29 peta

Bu te

 

* A} ages herein are approximations.

mle

Int
BOSTON A Be Ay .

be
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 29 of 32

EEOC Charge of Discrimination
Page 2 of &
Initials of Charging Party ~BP)
2. Harm Summary

| have been discriminated agalnst because of my age (48). Evidence of the discriminatory
conduct to which | have been subjected includes, but is not limited to, the following:

(a) Respondent has engaged in a systematic pattern and practice of failing to promote
its employees age forty (40) and over.

(b) Respondent considers age when promoting employees.

(c) Respondent engages In a systematic pattern and practice of denying leadership
development and advancement opportunities to employees age forty (40) and over.

 

 

 

(a) Respondent states that it offers ieadership development and advancement eens meenene
opportunities based on age,

(e) Respondent’s training and development programs intentionally discriminate against
employees age forty (40) and over and disparately impact employees age forty (40)
-and over:

(f} Respondent favors and Invests In young employees, or “young talents," or “co~
workers of tomorrow,” In ways that it does not favor or invest in employees over age
forty (40).

(g) In or about May 2017, | applied for the Sales Leader (Sales Planner) position. | was
qualified for the position, | had performed the Sales Leader (Sales Planner) position
on an interim basis for flve (5) of Respondent's stores between September 2013 and
May 2017.

(h) {n or about May 2017, | Interviewed with Patricia Crawford (48), Market Operations
Manager, for the Sales Leader (Sales Planner) position.

(i) In or about May 2017, | learned that Respondent falled to promote me to the Sales
Leader (Sales Planner) position, Although | was qualified for the position, | was not.

 

promoted. Instead, Respondent selected the following substantially younger
employees for the position: Shane Coopweod (26); Sonja Schenkemeyer (27);
Nicholas Wheat (28); and Spencer Saldumbice (28).

() Respondent provided me with no explanation, Including the selection criteria, as to
why | was not promoted and the substantially younger, less qualified employees were
gelected for the position.

(k) Respondent failed to promote me to the Sales Leader (Sales Planner) position
because of my age.

(Il) On or about October 15, 2017, | was demoted from Shopkeeper to Active Selling
Leader,

(m) Effective January 1, 2019, my compensation will decrease by more than $10,00 per
hour In connection with my demotion,

(n) The stated reason for my demotion and compensation decrease was Respondent's
realignment of job functions and duties to be more competitive In the retail
environment.
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 30 of 32

. BEOC Charge of Discrimination
Page 3 of 5
Initials of Charging Party - WW?

(0) On or about October 15, 2017, | began reporting to Ryan.

(p) In or about December 2017, | applied for the Sales Leader (Sales Planner) position.
| was qualified for the position.

(4) On December 28, 2017, | interviewed with John McCall, Recruiter, for the Sales
Leader (Sales Planner) position.

(rt) On January 11, 2018, | interviewed with Roberta Weirman (55), Hiring Manager, for
the Sales Leader (Sales Planner) pasition.

(8) On February 7, 2018, | learned that Respondent failed to promote me to the Sales
_ Leudar(Saleer Plermar position —Althyugh hwas-qualifted forthe position, was not
Pe er ———roMoted. Instead, Respondent selected Audrey Bates (30) forthe position. nn

 

() Respondent provided me with no explanation, including the selection criteria, as to
why | was not promoted and the substantially younger, less qualified employes was
selected for the position.

(u) Respondent falled to promote me to the Sales Leader (Sales Planner) position
because of my age.

(v) In June 2018, | applied for the Active Selling Manager position in Live Oak, Texas. |
was qualified for the position,

(w) On June 18, 2018, | Interviewed with Tanisha Ferris (30), Recruiter, for the Active
Selling Manager position,

(x) On June 22, 2018, | interviewed with Kimberly Castillo (35), Customer Experience
Manager, for the Active Selling Manager position.

(y) On June 28, 2018, | learned that Respondent failed to promote me to the Active
Selling Manager position. Although | was qualified for the position, | was not
promoted, Instead, Respondent selected Jeffrey Barlik (80) for. the.pasition. Borlik
had four (4) years of experience with Respondent; | had fourteen (14) years of
experience with Respondent.

(2) Respondent provided me with no explanation, Including the selection criterla, as to
why | was not promoted and the substantially younger, less qualified employee was
selected for the position.

(aa)Respondaent falled to promote me to the Active Selling Manager position because of
my age.

(bb)In August 2018, | applied for the Active Selling Manager position in Norfolk, Virginia,
| was qualified for the position,

{cc)On September 14, 2018, | interviewed with Amy Hagblom (38), Recruiter, for the
Active Selling Manager position.

(dd)On September 21, 2018, | interviewed with Tiffin Mohr (48), Customer Experience
Manager, for the Active Selling Manager position.
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 31 of 32

EEOC Charge of Discrimination

Page 4 of 5
Initials of Charging Party ep

(ee)On September 27, 2018, | learned that Respondent falted to promote me to the
Active Selling Manager position. Although | was quaiified for the position, | was not
promoted, In a call with Mohr, | was told that, since Active Selling was a new role to
Respondent, Respondent was looking for someone who could bring “new and
innovative ideas” fo the position and that Respondent would be hiring an external
candidate. | understood this to mean that Respondent considers an employee's age
when making hiring and promotional decisions, as the statement suggests to me.

(ff) Instead of promoting me to the position, Respondent selected an external candidate
for the Actlve Selling Manager position,

(gg)Respondent falled to promote me to the Active Selling Manager position because of

 

myAge

 

(hh)Respondent’s comments and conduct evidence a bias against older employees,
including, and in addition to the above, but not limited to the following Instances,

i,

ill.

During an interview for a promotion, Respondent asked Kelli King (55) if she
was going to be considering retirement soon.

During a meeting with employees, Respondent stated that, as part of its
action plan, every store needed to hire a management steering member
under age thirty (30).

Respondent recently demoted and/or pushed out the following employees:
Wilton Fulton (72), Shopkeeper, George Peterson (55), Shopkeeper, Gabby
Ortiz (48), Food Services Taam Leader.

On February 12, 2018, a lawsult, Donofrio v, IKEA, was filed against
Respondent, alleging a systematic pattern and practice of age discrimination.

On August 1, 2018, a fawsult, Parker v, IKEA, was filed against Respondent,
alleging a systematic pattern and practice of age discrimination.

 
Case 2:19-cv-00723-AB Document1 Filed 02/21/19 Page 32 of 32

EEOC Charge of Discrimination
Page § of 5

Initiale of Charging Party eE
B. 1. Respondent's Stated Reasons
(a) Respondent has not offered any non-age blased explanation for failing to
promote me, Including failing to promote me to the Sales Leader (Sales Planner)
and Active Selling Manager positions.
(b) Respondent's stated reason for demoting me, Respondent's realignment of Job

functions and duties to be more competitive in the retail environment, Is pretext
for age discrimination and/or a statement made because of age.

Cc. 4. Statutes and Bases for Allegations

 

 

bellave that Respondent tias discriminated againet ne based on my age | (48) ir violation

 

of the Age Discrimination in Employment Act, as amended, 29 U.S.C. § 623 ef seq.
CADEA’), and the Connecticut Human Rights and Opportunities Act, as amended, Conn.
Gen. Stat. § 46a-51 ef seg. (‘CHROA’) as set forth herein.

Dd. 4. Class Charge

i bring this Charge as a class and pattern and practice Charge on behalf of myself
and any and all current or former employees of Respondent who are age forty (40)
and over, and who have been discriminated against based on age in connection
with hirlng, promotion, training, or termination decisions, and/or have been
subjected to a hostile work environment.

 
